                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JENNIFER HARRIS,                             §
                                             §
      Plaintiffs,                            §
                                             §
vs.                                          § Civil Action 4:21-cv-1651
                                             §
FEDEX CORPORATE SERVICES, INC.,              § JURY DEMANDED
                                             §
      Defendants.                            §

                            PLAINTIFFS’ APPENDIX IN
                    SUPPORT OF PLAINTIFF’S MOTION TO COMPEL

TO THE HONORABLE KENNETH M. HOYT:

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                                                  Respectfully submitted,

                                                    /s/ Brian P. Sanford
                                                        Brian P. Sanford
                                                        Texas Bar No. 17630700
                                                        bsanford@sanfordfirm.com
                                                        Elizabeth “BB” Sanford
                                                        Texas Bar No. 24100618
                                                        esanford@sanfordfirm.com




                                            -1-
                                                     THE SANFORD FIRM
                                                     1910 Pacific Ave., Suite 15400
                                                     Dallas, TX 75201
                                                     Ph: (214) 717-6653
                                                     Fax: (214) 919-0113

                                                     ATTORNEYS FOR PLAINTIFF
                                                     JENNIFER HARRIS



                                CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2022, I electronically served the foregoing document on
all counsel of record via the Court’s electronic filing system.

                                                     /s/ Brian P. Sanford




                                               -2-
Exhibit 1
From:            Barak Babcock
To:              Elizabeth Sanford; Christopher Ahearn
Cc:              Brian Sanford
Subject:         RE: Harris v. FedEx
Date:            Monday, January 31, 2022 8:27:07 AM


Yes.


From: Elizabeth Sanford <esanford@sanfordfirm.com>
Sent: Monday, January 31, 2022 8:23 AM
To: Barak Babcock <barak.babcock@fedex.com>; Christopher Ahearn
<christopher.ahearn@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: [EXTERNAL] RE: Harris v. FedEx

  Caution! This email originated outside of FedEx. Please do not open attachments or click links
                              from an unknown or suspicious origin.


Barak,

I’ll double the mail this morning to see.

I copied and pasted that from our Monday discussion. You sent me proposed
search terms and I’m about to respond in writing to those.

Do you still intent to verify your amended interrogatory responses?

Thanks,
BB

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113 | Cell: 469-231-7233




From: Barak Babcock <barak.babcock@fedex.com>
Sent: Monday, January 31, 2022 8:21 AM
To: Elizabeth Sanford <esanford@sanfordfirm.com>; Christopher Ahearn
<christopher.ahearn@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: RE: Harris v. FedEx

BB,

I have asked to have the package tracked with the drive with documents. I am surprised it was not
delivered Friday.




                                                                                         Pl Appx-001
Thanks for the email, we will review it in more detail. But, wanted to discuss the first bullet.

      Please provide a signed verification as the FRCP 33 states that responses
      must be answered under oath. Fed. R. Civ. Pro. 33(b)(3). You verify your
      interrogatory responses when you amend your interrogatories which
      should be in less than two weeks. You anticipate uploading more
      documents to your server on Wednesday that will subsequently be
      produced to plaintiff in about seven days. You will produce more
      documents when search terms are decided. You will send me your
      proposed search terms today.

We provided search terms last week.

Thanks.

BJB


From: Elizabeth Sanford <esanford@sanfordfirm.com>
Sent: Monday, January 31, 2022 8:16 AM
To: Christopher Ahearn <christopher.ahearn@fedex.com>; Barak Babcock
<barak.babcock@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: [EXTERNAL] RE: Harris v. FedEx

  Caution! This email originated outside of FedEx. Please do not open attachments or click links
                              from an unknown or suspicious origin.


Thanks for meeting with me last week to finish our discovery conference.

Here is a summary of what we discussed. Let me know if you remember
something differently.

Responses to First Interrogatory Request:

      Please provide a signed verification as the FRCP 33 states that responses
      must be answered under oath. Fed. R. Civ. Pro. 33(b)(3). You verify your
      interrogatory responses when you amend your interrogatories which
      should be in less than two weeks. You anticipate uploading more
      documents to your server on Wednesday that will subsequently be
      produced to plaintiff in about seven days. You will produce more
      documents when search terms are decided. You will send me your
      proposed search terms today.
      No. 1: Please answer this interrogatory under oath. Rule 33(d) is not
      sufficient to prevent FedEx from responding to this interrogatory because
      the documents produced are not taken under oath. Secondly, FedEx has
      not produced documents FXS 19-21 and instead asserted the attorney



                                                                                               Pl Appx-002
client and work product privileges. You will produce FXS 19-21. These are
the requests for termination docs from manager to HR. and letter of
termination that will be produced.
No. 2: Let’s discuss any confusion you have over the question and try to
resolve your objection. You disclose any non-lawyers at FedEx who were
asked to “weigh in” to employees at FedEx. You have disclosed all of those
people.
No. 3: This is not overbroad. The Plaintiff’s comparator is specific
information Plaintiff is entitled to know. Please remove this objection so
that Plaintiff knows Defendant has fully answered under oath. You stated
that this request is overly broad because Mr. Harris had other duties from
around the country and you don’t know if we are missing something that
is not germane to her termination. You gave the example that reading
emails is not part of your duties as a lawyer and yet you read emails on a
daily basis. You proposed adding a sentence to the request: with respect
to Ms. Harris’s principle job duties. That would make the request more
clear to you. You stated that the answer is still just Ms. Solgot. You will
supplement this with salary and dates of employment, and other
information requested.
No. 7: Plaintiff has a long tenure with Defendant with a great work history
and managed or worked with a team for over 10 years while employed for
Defendant. Plaintiff is not asking for personnel files of each team member,
nor every person who Plaintiff interacted with while employed at FedEx.
Plaintiff simply requests a list with some relevant, identifying information
about Ms. Harris’s teams. 10 years is the appropriate scope. Your
supplemental response will reference bates number to response that will
be a native spreadsheet. You stated that Ms. Harris became a manager on
September 1, 2016, according to FXS 1260. After checking with Ms.
Harris, she stated that she became a manager in February of 2015
as a Business Sales Inside Manager in Memphis. You will limit your
responses to the scope to the time frame that Ms. Harris became a
manager.
No. 8: The scope is narrowly tailored to this case because it is limited to
race discrimination or retaliation complaints for the last five years. Plaintiff
does not request all ethical complaints and five years is limited in
timeliness. Plaintiff does mean retaliation based on protected conduct
arising from complaints of discrimination based on race or ethnicity, but
also any retaliation complaints about race or ethnicity. Please produce all
complaints within this scope. Plaintiff attempted to provide clarification by
stating it wanted informal and formal complaints, such as a complaint to
an ethics hotline. We can discuss further if you still do not understand.
Please respond. You stated that your objection was because you didn’t
know what constituted an informal complaint. You described that FedEx
we has three systems in which all of these complaints are documented:
the hotline, internal EEO complaints, and external charges. You proposed



                                                                       Pl Appx-003
    replacing “formal or informal” with the word “written.” You also proposed
    limiting it to only the employees in Ms. Harris’s VP chain of command and
    limiting it to race discrimination. I was okay with changing the request to
    “written” complaints, if the complaints include email complaints and
    reports of discrimination. I propose changing the scope to complaints
    made in Texas and the out of non-Texas offices/facilities in which
    Ms. Harris worked. We can discuss this new scope on our Wednesday
    call.
    No. 9: This request is narrowly tailored for the same reasons as No. 8.
    Please respond. You proposed changing the scope to only the time frame
    in which Ms. Harris was a manager and only the employees in Ms. Harris’s
    chain of command. time scope is okay but only in Ms. Harris’s VP chain of
    command. I propose changing the scope to litigation in Texas and
    the litigation arising out of any offices/facilities in which Ms.
    Harris worked. We can discuss this new scope on our Wednesday call.
    No. 11: Net worth means the value of assets of FedEx minus the liabilities
    it owes. Please respond. You sent me a link below in this email chain to
    the appropriate FedEx 10Q from December 2021 and stipulate that the
    information in the SEC filings can judicially noticed.

Responses to First Request for Production:

    No. 1: We did not receive a supplemental production on December 17,
    2021. When will you be producing those? If you do not plan to produce
    any more documents, please confirm. FedEx does not do peer reviews.
    You will produce responsive information but did not give a date certain by
    which you will do this.
    No 2: This is not overly broad. Let’s discuss what you think an appropriate
    scope it. You proposed limiting the scope to the time period in which Ms.
    Harris worked with Ms. Lamb. You agreed to limit the custodians to HR
    professionals and Ms. Harris’s management chain, specifically Kristie
    Castilow, Mack ____? (I’m not sure who this person is), Michael Clark,
    Michelle Lamb, Cathy ___ (who is this?), Adrian Webster (who is this?),
    Dave Russel, James Wallace, and Jennifer Harris. You do not agree to
    produce documents of her peers until after we agree on search terms,
    which you will send to me today. You stated concerns about fully
    preparing your 30b6 witness if there is a large data dump. You will give all
    emails between Ms. Harris and Ms. Lamb. Plaintiff proposes the
    custodians be anyone either party listed in their disclosures.
    No. 3: This is relevant and not overly broad. Decision maker information is
    discoverable. Please produce. You stated that you will produce these
    documents but did not give a date certain.
    No. 4: This is relevant and not overly broad. Comparator information is
    discoverable. Please produce. You agreed to produce Ms. Lamb and Ms.
    Harris’s personnel file and the personnel files for Ms. Harris’s peers,
    including disciplinary and performance evaluations. I stated that I did not


                                                                        Pl Appx-004
need any medical information in the employee’s file. I am looking for all
disciplinary action, PTO documentation, complaints made, bonuses
received, and any other information that would compare how Ms. Lamb
treated Ms. Lamb as compared to her peers. The personnel files of Ms.
Lamb’s peers and other managers are relevant because they compare Ms.
Lamb’s treatment of her employees to other managers on Ms. Lamb’s
level and their treatment of their direct reports. For example, how Ms.
Lamb’s discipline of her team’s conduct should be compared to how other
managers on Ms. Lamb’s level discipline direct reports.
No. 5: This is relevant and not overly broad. Comparator and team
information is discoverable. Please produce. You argued that Ms. Harris
wasn’t disciplined for how Ms. Harris was disciplining her employees;
therefore, you argue that this information is not relevant. You also
suggested that only information in 2019, the year Ms. Harris received a
PIP, is appropriate. I stated that I could not agree to that limited of a
scope and the information is relevant because how Ms. Harris disciplined
and evaluated her direct reports or how her peers were treated shows the
type of employee Ms. Harris was.
No. 6-7: This is relevant and not overly broad. Comparator information is
discoverable. Please produce. For Request Number 6, similar arguments
were made as above. All personnel files of Ms. Harris’s team members,
her peers, Ms. Harris’s comparators, Ms. Lamb, Ms. Lamb’s peers are
relevant and important to compare how FedEx treated Ms. Harris to
others. For Request Number 7, you stated that you will produce
comparative sales data but did not give specifics on the type of documents
that will be produced.
No. 8: This is relevant and not overly broad. Decision maker information is
discoverable. Please produce. You stated that you will produce documents
where this data will be aggregated in a spreadsheet. You informed me that
it may look different than what Ms. Harris received. You will only produce
documents for field sales manager who reported to Ms. Lamb and Ms.
Lamb.
No. 9: We did not receive a supplemental production on December 17,
2021. When will you be producing those? If you do not plan to produce
any more documents, please confirm. You have these documents and will
produce but did not give a date certain.
No 10: This is not overly broad. Plaintiff needs to verify that all
appropriate policies, procedures, and manuals are produced, and the table
of contents is the most efficient way to do so. Please produce. You
previously produced the TOC of employment and EEO type files. You gave
all polices regarding investigations, complaints, reports. You don’t have a
manual on how to investigate complaints. You will search for more
relevant documents. I stated that I need the TOC for all polices to verify
that the relevant full policies were produced.
No. 11: This is not overly broad. Defendant’s patterns and practices are at



                                                                   Pl Appx-005
    issue and 10 years is a reasonable time frame. Please produce. We had
    the same conversation as Request Number 10.
    No. 12: This is not overly broad. Plaintiff is entitled to know the insurance
    coverage for the claims in this case. Please produce. You stated that
    FedEx is self-insured up to $5 million and will not produce the insurance
    policy above that.
    No. 13: This is not overly broad and no supplemental production has been
    produced. Plaintiff is entitled to discover the training and investigative
    procedures. Please produce. You stated that you will produce the training
    history of people who did the investigation in a log. You give “relevant”
    training materials. You will not produce any videos, only scripts for
    training videos. You stated that if Plaintiff’s counsel wants a particular
    video based on what the script says that I can request that after I receive
    the request. I stated that there are (cheap) programs that can video
    someone’s screen going through the video training and it is not difficult to
    produce. We want all training videos on discrimination, retaliation, and
    investigations of those complaints.
    No. 14: This is not overly broad. Please produce the full scope of
    documents requested. We discussed the scope of this in Request Number
    10.
    No. 16: This is sufficiently precise. Let’s discuss any confusion you have
    over the request. Please remove the objection. Plaintiff cannot tell if
    Defendant is hiding documents behind the objection or not. You stated
    that the word “procedures” is too broad. However, you stated that
    “procedures” is not overly broad if limited to the subject matter of this
    case. You will tell me if you are withholding a doc based on an objection.

This is where we began our conversation on Wednesday at 10am CT.

    No. 17-19: We did not receive a supplemental production on December
    17, 2021. When will you be producing those? If you do not plan to
    produce any more documents, please confirm. Already gave compensation
    package. Not intentionally withholding any document that was considered
    by FedEx in dealing with Ms. Harris’s employment.
    No. 20: I apologize for the typo. The request should read “…reviewed by
    or prepared by for each consulting…” Please remove your vague and
    ambiguous objection with that correction. You don’t have an expert yet.
    No. 22: An “equally available” is not an appropriate objection. If the
    documents are in your possession, you have an obligation to produce.
    Please remove the objection. Plaintiff does not know if Defendant is hiding
    documents because of that objection. You made a FOIA request.
    No. 23-26: This is not overly broad. If the defendant objects to the scope,
    it must propose a scope that it thinks is appropriate. Defendant has not
    done so. Defendant has not given any proposed search terms. Please
    produce the full scope requested or provide a new scope. You maintain
    this is too large for Request. Scope is the same for all ESI. You will not



                                                                         Pl Appx-006
privilege log any core work product.
      25: You are not going to look for a final paycheck. You won’t search
      for every reference to Ms. Harris after she left – just documents
      related to any complaints made by Harris
      26: you will give us Ms. Harris’s email after a privilege review. You
      asked me if Ms. Harris communicated with anyone in the legal
      department regarding disciple. After speaking with Ms. Harris,
      I can confirm that she did not.
No. 28-29: These are not vague or ambiguous. Let’s discuss any confusion
you may have over these requests. They are sufficiently precise. You are
producing the entire disciplinary file and your usual practice is to ask HR
professionals about their notes.
      29: no employment contract with Ms. Harris. No contractual rights
      with bonus structure. You will produce any document sufficient to
      describe the bonus structure for someone in Ms. Harris’s position.
No. 30: We did not receive a supplemental production on December 17,
2021. When will you be producing those? If you do not plan to produce
any more documents, please confirm. You will produce.
No. 31: I apologize for the typo. The request should read, “…complaints of
race discrimination against Defendant…” With that correction, please
produce responsive documents. You will produce these documents with
that typo change, subject to a privilege review.
No. 32: “Complaints” is not overly broad, vague, or ambiguous. This is a
common word used in companies for employment investigations and
employee reports about discrimination occurrences in the workplace.
Furthermore, the word “complaints” is used in other requests and the
Defendant did not object to the word. Please remove your objection and
produce. You will produce documents related to Plaintiff’s internal
complaints and charge of discrimination. Not complaints like Ms. Harris is
mad about being at a meeting.
No. 33-34: This is not overly broad. The request is limited to an
appropriate temporal scope and is incredibly relevant to the case because
Defendant’s pattern and practice around discrimination complaints,
occurrences, and lawsuits in the workplace is at issue. Please produce.
Services to HR switched how they were tracking complaints in 2017. Don’t
know if we have readily accessible data prior to that. You will check on
that date and information. You want to limit it to that time period. 2017 to
date of termination. Three buckets of complaints. I suggested limiting it to
Texas and office where harris worked. You disagreed and said that scope
is too large. You say that we are entitled to know about the sale
department of FedEx services not other departments like the IT
department. You propose complaints and lawsuits for managers, not front
line. Sales manager under the same VP organization as Ms. Harris = what
you want if there is motion practice. You aren’t sure if you will produce
anything until this scope is decided. You will probably produce the scope
that you prefer and but it at the back of the line and produce the things



                                                                    Pl Appx-007
      like emails that
      No. 37-38: FedEx does not have any organizational charts that include Ms.
      Harris or Ms. Lamb? What organizational charts does FedEx have? FedEx
      does not have an org chart and there is no tree that is historically
      maintained. I will ask about this at the 30b6 deposition.
      No. 39-40: We did not receive a supplemental production on December
      17, 2021. When will you be producing those? If you do not plan to
      produce any more documents, please confirm. Job descriptions are coming
      soon – you will give Ms. Harris’s job description when she began working
      for Michelle Lamb up until her time of termination. You will give the job
      description of Michelle Lamb’s position that existed in 2017 until
      termination of Ms. Harris. I may re-ask after a deposition.

I also want to follow up on the depositions that we requested back in
September 2021. Do you have any potential dates for them, yet? Here is the
list of the witnesses, again, and the order we would like to take them in for
your reference: Plaintiff will depose these witnesses virtually and will send a
zoom link.
    1. Corporate Representative(s) I will get you the topics.
    2. Michelle Lamb You have control over this witness and will produce for
       deposition
    3. Jim Wallace This is a former employee and you will let me know if you
       have control over this witness.
    4. Dave Russell You will let me know if you have control over this witness
    5. Dan Mullally You are not sure if you have control over this witness. You do
       not want Plaintiff to depose this witness because he is a SVP and you do
       not think he is relevant to the litigation.
    6. Kristie Castilow She is still an employee and you will produce for
       deposition.
    7. Michael Clark He is still an employee and you will produce for deposition.

As for the net worth of FedEx which we did not discuss over the phone on
Wednesday but spoke about on Monday and exchanged numerous emails –
would you provide a balance sheet for FedEx services or stipulate that the 10K
can be presented to the jury to show Defendant’s net worth? This goes towards
punitive damages.

I have a couple of proposals for the search terms, but will put those in the
separate email chain that we have going for search terms.

Thanks,
BB

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113 | Cell: 469-231-7233




                                                                          Pl Appx-008
From: Christopher Ahearn <christopher.ahearn@fedex.com>
Sent: Tuesday, January 25, 2022 4:53 PM
To: Elizabeth Sanford <esanford@sanfordfirm.com>; Barak Babcock <barak.babcock@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: RE: Harris v. FedEx

Elizabeth, let’s discuss the finance issue tomorrow.

My principal concern is that it may not be accurate to think about the amount of FedEx Corporate
Services’ available resources to satisfy a judgment, in terms of “net worth.” You use the phrase, for
example “the net worth shown on the balance sheet on the Form 10Q.” But, the phrase “net worth”
does not appear in that document to my knowledge. I am not an expert in accounting or corporate
finance so I could be totally missing the mark here and spotting an issue that’s not there.

My principal concern is that whatever financial information is presented to the jury or disclosed in
discovery, it is accurate, and based on the most currently available information.

Christopher M. Ahearn | Sr. Counsel, Legal - Employment Litigation | Federal Express Corporation | Office
901.434.8600 | Mobile 949.798.9090 | 3620 Hacks Cross Road, Building B, 3rd Floor, Memphis, TN 38125 |
fedex.com
*Admitted to practice in California. Not yet admitted to practice in Tennesee. Registered for practice pending
admission (TN Sup. Ct. R. 10.07).


From: Elizabeth Sanford <esanford@sanfordfirm.com>
Sent: Tuesday, January 25, 2022 4:31 PM
To: Barak Babcock <barak.babcock@fedex.com>; Christopher Ahearn
<christopher.ahearn@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: [EXTERNAL] RE: Harris v. FedEx

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                              from an unknown or suspicious origin.


Thanks, Barak.

I originally had a meeting that started at 12pm CT tomorrow, which would have
only given us two hours to confer since we are scheduled to begin at 10am CT.
Fortunately, that meeting has been moved. However, I’m hopeful that since we
conferred for almost two hours yesterday it will take us less than two hours
tomorrow.

I am reviewing your proposed search terms that you sent over today.

Yes, if you think that any of my notes are incorrect, please indicate. That might
speed the process up and we can pinpoint any requests that we covered
yesterday that we need to clarify.

As a follow up on a few more things:



                                                                                                         Pl Appx-009
      You stated that FedEx Services is self-insured up to $5million, and would
      not produce your insurance agreement. We do want and need the full
      insurance agreement. FRCP 26(1)(iv) requires the disclosure of the full
      insurance agreement to satisfy all or part of a possible judgment. Please
      provide the full insurance agreement, not just the dec page.

      Regarding net worth and link to the 10Q you sent, I want to make sure
      there is no confusion. To be clear, you are not going to contest that the
      net worth of FedEx services is less than the net worth shown on the
      balance sheet on the Form 10Q or 10K filed with the SEC. The 10Q and
      10k is of FedEx Corporation and not a subsidiary. We just want to avoid an
      argument at trial that the net worth of FedEx Corporation is not relevant
      for the jury considering punitive damages for the defendant in this case.

I look forward to finishing our meet and confer on Defendant’s discovery
responses to Plaintiff’s First Set of Interrogatories and First Requests for
Production tomorrow.

Thanks,
BB

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113 | Cell: 469-231-7233




From: Barak Babcock <barak.babcock@fedex.com>
Sent: Tuesday, January 25, 2022 4:03 PM
To: Elizabeth Sanford <esanford@sanfordfirm.com>; Christopher Ahearn
<christopher.ahearn@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: RE: Harris v. FedEx

BB,
We will be prepared to discuss your notes (in red) during the call tomorrow. Since we are having
another call, it does not seem like a good use of time to add our notes to this memorialization. But,
by way of example, in response to RFP No. 2, we have not yet agreed to produce documents of
“peers”. It is true that we indicated we should see how much data already exists from the custodians
we proposed. The individuals we proposed should all be on our 26 disclosures. In any event, we can
continue the meet and confer process tomorrow.

I think it is best to start the call with discussing search terms and other electronic data issues. That
way we can be sure to have that process underway. I believe you may have limited time tomorrow
and I am traveling Thursday and Friday for work.




                                                                                               Pl Appx-010
Looking forward to speaking with you tomorrow morning.

BJB


From: Elizabeth Sanford <esanford@sanfordfirm.com>
Sent: Tuesday, January 25, 2022 8:56 AM
To: Christopher Ahearn <christopher.ahearn@fedex.com>; Barak Babcock
<barak.babcock@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: [EXTERNAL] RE: Harris v. FedEx

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                             from an unknown or suspicious origin.


Chris and Barak,

My notes from our call are in red. I’ve highlighted some portions by bolding or
yellow highlight. I’ll be on the look out for your zoom link for our 10am CT
conference on Wednesday.

Let me know if you remember anything differently.

Responses to First Interrogatory Request:

      Please provide a signed verification as the FRCP 33 states that responses
      must be answered under oath. Fed. R. Civ. Pro. 33(b)(3). You verify your
      interrogatory responses when you amend your interrogatories which
      should be in less than two weeks. You anticipate uploading more
      documents to your server on Wednesday that will subsequently be
      produced to plaintiff in about seven days. You will produce more
      documents when search terms are decided. You will send me your
      proposed search terms today.
      No. 1: Please answer this interrogatory under oath. Rule 33(d) is not
      sufficient to prevent FedEx from responding to this interrogatory because
      the documents produced are not taken under oath. Secondly, FedEx has
      not produced documents FXS 19-21 and instead asserted the attorney
      client and work product privileges. You will produce FXS 19-21. These are
      the requests for termination docs from manager to HR. and letter of
      termination that will be produced.
      No. 2: Let’s discuss any confusion you have over the question and try to
      resolve your objection. You disclose any non-lawyers at FedEx who were
      asked to “weigh in” to employees at FedEx. You have disclosed all of those
      people.
      No. 3: This is not overbroad. The Plaintiff’s comparator is specific
      information Plaintiff is entitled to know. Please remove this objection so
      that Plaintiff knows Defendant has fully answered under oath. You stated
      that this request is overly broad because Mr. Harris had other duties from


                                                                                       Pl Appx-011
around the country and you don’t know if we are missing something that
is not germane to her termination. You gave the example that reading
emails is not part of your duties as a lawyer and yet you read emails on a
daily basis. You proposed adding a sentence to the request: with respect
to Ms. Harris’s principle job duties. That would make the request more
clear to you. You stated that the answer is still just Ms. Solgot. You will
supplement this with salary and dates of employment, and other
information requested.
No. 7: Plaintiff has a long tenure with Defendant with a great work history
and managed or worked with a team for over 10 years while employed for
Defendant. Plaintiff is not asking for personnel files of each team member,
nor every person who Plaintiff interacted with while employed at FedEx.
Plaintiff simply requests a list with some relevant, identifying information
about Ms. Harris’s teams. 10 years is the appropriate scope. Your
supplemental response will reference bates number to response that will
be a native spreadsheet. You stated that Ms. Harris became a manager on
September 1, 2016, according to FXS 1260. After checking with Ms.
Harris, she stated that she became a manager in February of 2015
as a Business Sales Inside Manager in Memphis. You will limit your
responses to the scope to the time frame that Ms. Harris became a
manager.
No. 8: The scope is narrowly tailored to this case because it is limited to
race discrimination or retaliation complaints for the last five years. Plaintiff
does not request all ethical complaints and five years is limited in
timeliness. Plaintiff does mean retaliation based on protected conduct
arising from complaints of discrimination based on race or ethnicity, but
also any retaliation complaints about race or ethnicity. Please produce all
complaints within this scope. Plaintiff attempted to provide clarification by
stating it wanted informal and formal complaints, such as a complaint to
an ethics hotline. We can discuss further if you still do not understand.
Please respond. You stated that your objection was because you didn’t
know what constituted an informal complaint. You described that FedEx
we has three systems in which all of these complaints are documented:
the hotline, internal EEO complaints, and external charges. You proposed
replacing “formal or informal” with the word “written.” You also proposed
limiting it to only the employees in Ms. Harris’s VP chain of command and
limiting it to race discrimination. I was okay with changing the request to
“written” complaints, if the complaints include email complaints and
reports of discrimination. I propose changing the scope to complaints
made in Texas and the out of non-Texas offices/facilities in which
Ms. Harris worked. We can discuss this new scope on our Wednesday
call.
No. 9: This request is narrowly tailored for the same reasons as No. 8.
Please respond. You proposed changing the scope to only the time frame
in which Ms. Harris was a manager and only the employees in Ms. Harris’s



                                                                        Pl Appx-012
    chain of command. time scope is okay but only in Ms. Harris’s VP chain of
    command. I propose changing the scope to litigation in Texas and
    the litigation arising out of any offices/facilities in which Ms.
    Harris worked. We can discuss this new scope on our Wednesday call.
    No. 11: Net worth means the value of assets of FedEx minus the liabilities
    it owes. Please respond. You sent me a link below in this email chain to
    the appropriate FedEx 10Q from December 2021 and stipulate that the
    information in the SEC filings can judicially noticed.

Responses to First Request for Production:

    No. 1: We did not receive a supplemental production on December 17,
    2021. When will you be producing those? If you do not plan to produce
    any more documents, please confirm. FedEx does not do peer reviews.
    You will produce responsive information but did not give a date certain by
    which you will do this.
    No 2: This is not overly broad. Let’s discuss what you think an appropriate
    scope it. You proposed limiting the scope to the time period in which Ms.
    Harris worked with Ms. Lamb. You agreed to limit the custodians to HR
    professionals and Ms. Harris’s management chain, specifically Kristie
    Castilow, Mack ____? (I’m not sure who this person is), Michael Clark,
    Michelle Lamb, Cathy ___ (who is this?), Adrian Webster (who is this?),
    Dave Russel, James Wallace, and Jennifer Harris. You do not agree to
    produce documents of her peers until after we agree on search terms,
    which you will send to me today. You stated concerns about fully
    preparing your 30b6 witness if there is a large data dump. You will give all
    emails between Ms. Harris and Ms. Lamb. Plaintiff proposes the
    custodians be anyone either party listed in their disclosures.
    No. 3: This is relevant and not overly broad. Decision maker information is
    discoverable. Please produce. You stated that you will produce these
    documents but did not give a date certain.
    No. 4: This is relevant and not overly broad. Comparator information is
    discoverable. Please produce. You agreed to produce Ms. Lamb and Ms.
    Harris’s personnel file and the personnel files for Ms. Harris’s peers,
    including disciplinary and performance evaluations. I stated that I did not
    need any medical information in the employee’s file. I am looking for all
    disciplinary action, PTO documentation, complaints made, bonuses
    received, and any other information that would compare how Ms. Lamb
    treated Ms. Lamb as compared to her peers. The personnel files of Ms.
    Lamb’s peers and other managers are relevant because they compare Ms.
    Lamb’s treatment of her employees to other managers on Ms. Lamb’s
    level and their treatment of their direct reports. For example, how Ms.
    Lamb’s discipline of her team’s conduct should be compared to how other
    managers on Ms. Lamb’s level discipline direct reports.
    No. 5: This is relevant and not overly broad. Comparator and team
    information is discoverable. Please produce. You argued that Ms. Harris


                                                                        Pl Appx-013
wasn’t disciplined for how Ms. Harris was disciplining her employees;
therefore, you argue that this information is not relevant. You also
suggested that only information in 2019, the year Ms. Harris received a
PIP, is appropriate. I stated that I could not agree to that limited of a
scope and the information is relevant because how Ms. Harris disciplined
and evaluated her direct reports or how her peers were treated shows the
type of employee Ms. Harris was.
No. 6-7: This is relevant and not overly broad. Comparator information is
discoverable. Please produce. For Request Number 6, similar arguments
were made as above. All personnel files of Ms. Harris’s team members,
her peers, Ms. Harris’s comparators, Ms. Lamb, Ms. Lamb’s peers are
relevant and important to compare how FedEx treated Ms. Harris to
others. For Request Number 7, you stated that you will produce
comparative sales data but did not give specifics on the type of documents
that will be produced.
No. 8: This is relevant and not overly broad. Decision maker information is
discoverable. Please produce. You stated that you will produce documents
where this data will be aggregated in a spreadsheet. You informed me that
it may look different than what Ms. Harris received. You will only produce
documents for field sales manager who reported to Ms. Lamb and Ms.
Lamb.
No. 9: We did not receive a supplemental production on December 17,
2021. When will you be producing those? If you do not plan to produce
any more documents, please confirm. You have these documents and will
produce but did not give a date certain.
No 10: This is not overly broad. Plaintiff needs to verify that all
appropriate policies, procedures, and manuals are produced, and the table
of contents is the most efficient way to do so. Please produce. You
previously produced the TOC of employment and EEO type files. You gave
all polices regarding investigations, complaints, reports. You don’t have a
manual on how to investigate complaints. You will search for more
relevant documents. I stated that I need the TOC for all polices to verify
that the relevant full policies were produced.
No. 11: This is not overly broad. Defendant’s patterns and practices are at
issue and 10 years is a reasonable time frame. Please produce. We had
the same conversation as Request Number 10.
No. 12: This is not overly broad. Plaintiff is entitled to know the insurance
coverage for the claims in this case. Please produce. You stated that
FedEx is self-insured up to $5 million and will not produce the insurance
policy above that.
No. 13: This is not overly broad and no supplemental production has been
produced. Plaintiff is entitled to discover the training and investigative
procedures. Please produce. You stated that you will produce the training
history of people who did the investigation in a log. You give “relevant”
training materials. You will not produce any videos, only scripts for



                                                                     Pl Appx-014
    training videos. You stated that if Plaintiff’s counsel wants a particular
    video based on what the script says that I can request that after I receive
    the request. I stated that there are (cheap) programs that can video
    someone’s screen going through the video training and it is not difficult to
    produce. We want all training videos on discrimination, retaliation, and
    investigations of those complaints.
    No. 14: This is not overly broad. Please produce the full scope of
    documents requested. We discussed the scope of this in Request Number
    10.
    No. 16: This is sufficiently precise. Let’s discuss any confusion you have
    over the request. Please remove the objection. Plaintiff cannot tell if
    Defendant is hiding documents behind the objection or not. You stated
    that the word “procedures” is too broad. However, you stated that
    “procedures” is not overly broad if limited to the subject matter of this
    case. You will tell me if you are withholding a doc based on an objection.

We concluded here for the evening after 1 hour and 35 minutes on our zoom
call. We will resume on 10am CT Wednesday morning. You will send the zoom
link.

    No. 17-19: We did not receive a supplemental production on December
    17, 2021. When will you be producing those? If you do not plan to
    produce any more documents, please confirm.
    No. 20: I apologize for the typo. The request should read “…reviewed by
    or prepared by for each consulting…” Please remove your vague and
    ambiguous objection with that correction.
    No. 22: An “equally available” is not an appropriate objection. If the
    documents are in your possession, you have an obligation to produce.
    Please remove the objection. Plaintiff does not know if Defendant is hiding
    documents because of that objection.
    No. 23-26: This is not overly broad. If the defendant objects to the scope,
    it must propose a scope that it thinks is appropriate. Defendant has not
    done so. Defendant has not given any proposed search terms. Please
    produce the full scope requested or provide a new scope.
    No. 28-29: These are not vague or ambiguous. Let’s discuss any confusion
    you may have over these requests. They are sufficiently precise.
    No. 30: We did not receive a supplemental production on December 17,
    2021. When will you be producing those? If you do not plan to produce
    any more documents, please confirm.
    No. 31: I apologize for the typo. The request should read, “…complaints of
    race discrimination against Defendant…” With that correction, please
    produce responsive documents.
    No. 32: “Complaints” is not overly broad, vague, or ambiguous. This is a
    common word used in companies for employment investigations and
    employee reports about discrimination occurrences in the workplace.
    Furthermore, the word “complaints” is used in other requests and the



                                                                         Pl Appx-015
      Defendant did not object to the word. Please remove your objection and
      produce.
      No. 33-34: This is not overly broad. The request is limited to an
      appropriate temporal scope and is incredibly relevant to the case because
      Defendant’s pattern and practice around discrimination complaints,
      occurrences, and lawsuits in the workplace is at issue. Please produce.
      No. 37-38: FedEx does not have any organizational charts that include Ms.
      Harris or Ms. Lamb? What organizational charts does FedEx have?
      No. 39-40: We did not receive a supplemental production on December
      17, 2021. When will you be producing those? If you do not plan to
      produce any more documents, please confirm.

I also want to follow up on the depositions that we requested back in
September 2021. Do you have any potential dates for them, yet? Here is the
list of the witnesses, again, and the order we would like to take them in for
your reference: Plaintiff will depose these witnesses virtually and will send a
zoom link.
    1. Corporate Representative(s) I will get you the topics.
    2. Michelle Lamb You have control over this witness and will produce for
       deposition
    3. Jim Wallace This is a former employee and you will let me know if you
       have control over this witness.
    4. Dave Russell You will let me know if you have control over this witness
    5. Dan Mullally You are not sure if you have control over this witness. You do
       not want Plaintiff to depose this witness because he is a SVP and you do
       not think he is relevant to the litigation.
    6. Kristie Castilow She is still an employee and you will produce for
       deposition.
    7. Michael Clark He is still an employee and you will produce for deposition.

Protective Order: You stated that you will give us a proposed protective
order.

Thanks,
BB

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113 | Cell: 469-231-7233




From: Elizabeth Sanford
Sent: Monday, January 24, 2022 5:34 PM
To: Christopher Ahearn <christopher.ahearn@fedex.com>; Barak Babcock
<barak.babcock@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: RE: Harris v. FedEx


                                                                          Pl Appx-016
Thanks. I’ll send a follow up email of a summary of our conversation today.

I’ll see you on Wednesday at 10am CT to finish conferring.

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113 | Cell: 469-231-7233




From: Christopher Ahearn <christopher.ahearn@fedex.com>
Sent: Monday, January 24, 2022 4:43 PM
To: Elizabeth Sanford <esanford@sanfordfirm.com>; Barak Babcock <barak.babcock@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: RE: Harris v. FedEx

We will stipulate that information in SEC filings can be judicially noticed.

Christopher M. Ahearn | Sr. Counsel, Legal - Employment Litigation | Federal Express Corporation | Office
901.434.8600 | Mobile 949.798.9090 | 3620 Hacks Cross Road, Building B, 3rd Floor, Memphis, TN 38125 |
http://fedex.com
*Admitted to practice in California. Not yet admitted to practice in Tennesee. Registered for practice pending
admission (TN Sup. Ct. R. 10.07).


From: Christopher Ahearn
Sent: Monday, January 24, 2022 4:41 PM
To: Elizabeth Sanford <esanford@sanfordfirm.com>; Barak Babcock <barak.babcock@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: RE: Harris v. FedEx

Regarding the net worth question, here is a link to the FedEx 10Q from December 2021.

https://d18rn0p25nwr6d.cloudfront.net/CIK-0001048911/52a1779c-aeda-41dc-b482-
215d2c35d2e0.pdf

You can also go to http://investors.fedex.com and get a litany of financial info. As you will see in the
10Q, FedEx Corp. Services is a reporting segment.

This does not of course address the question of “net worth” per se, but perhaps you can find
something helpful that will not involve an unnecessarily complicated accounting process.

Christopher M. Ahearn | Sr. Counsel, Legal - Employment Litigation | Federal Express Corporation | Office
901.434.8600 | Mobile 949.798.9090 | 3620 Hacks Cross Road, Building B, 3rd Floor, Memphis, TN 38125 |
http://fedex.com
*Admitted to practice in California. Not yet admitted to practice in Tennesee. Registered for practice pending
admission (TN Sup. Ct. R. 10.07).




                                                                                                         Pl Appx-017
From: Elizabeth Sanford <esanford@sanfordfirm.com>
Sent: Monday, January 10, 2022 7:56 AM
To: Barak Babcock <barak.babcock@fedex.com>; Christopher Ahearn
<christopher.ahearn@fedex.com>
Cc: Brian Sanford <bsanford@sanfordfirm.com>
Subject: [EXTERNAL] Harris v. FedEx

 Caution! This email originated outside of FedEx. Please do not open attachments or click links
                             from an unknown or suspicious origin.


Barak and Chris,

I’ve had a chance to review your discovery responses and would like to set up a
time to talk about them. What is a good time for you this week?

Here is an outline of what I would like to discuss.

Responses to First Interrogatory Request:

      Please provide a signed verification as the FRCP 33 states that responses
      must be answered under oath. Fed. R. Civ. Pro. 33(b)(3).
      No. 1: Please answer this interrogatory under oath. Rule 33(d) is not
      sufficient to prevent FedEx from responding to this interrogatory because
      the documents produced are not taken under oath. Secondly, FedEx has
      not produced documents FXS 19-21 and instead asserted the attorney
      client and work product privileges.
      No. 2: Let’s discuss any confusion you have over the question and try to
      resolve your objection.
      No. 3: This is not overbroad. The Plaintiff’s comparator is specific
      information Plaintiff is entitled to know. Please remove this objection so
      that Plaintiff knows Defendant has fully answered under oath.
      No. 7: Plaintiff has a long tenure with Defendant with a great work history
      and managed or worked with a team for over 10 years while employed for
      Defendant. Plaintiff is not asking for personnel files of each team member,
      nor every person who Plaintiff interacted with while employed at FedEx.
      Plaintiff simply requests a list with some relevant, identifying information
      about Ms. Harris’s teams. 10 years is the appropriate scope.
      No. 8: The scope is narrowly tailored to this case because it is limited to
      race discrimination or retaliation complaints for the last five years. Plaintiff
      does not request all ethical complaints and five years is limited in
      timeliness. Plaintiff does mean retaliation based on protected conduct
      arising from complaints of discrimination based on race or ethnicity, but
      also any retaliation complaints about race or ethnicity. Please produce all
      complaints within this scope. Plaintiff attempted to provide clarification by
      stating it wanted informal and formal complaints, such as a complaint to
      an ethics hotline. We can discuss further if you still do not understand.
      Please respond.


                                                                                       Pl Appx-018
    No. 9: This request is narrowly tailored for the same reasons as No. 8.
    Please respond.
    No. 11: Net worth means the value of assets of FedEx minus the liabilities
    it owes. Please respond.

Responses to First Request for Production:

    No. 1: We did not receive a supplemental production on December 17,
    2021. When will you be producing those? If you do not plan to produce
    any more documents, please confirm.
    No 2: This is not overly broad. Let’s discuss what you think an appropriate
    scope it.
    No. 3: This is relevant and not overly broad. Decision maker information is
    discoverable. Please produce.
    No. 4: This is relevant and not overly broad. Comparator information is
    discoverable. Please produce.
    No. 5: This is relevant and not overly broad. Comparator and team
    information is discoverable. Please produce.
    No. 6-7: This is relevant and not overly broad. Comparator information is
    discoverable. Please produce.
    No. 8: This is relevant and not overly broad. Decision maker information is
    discoverable. Please produce.
    No. 9: We did not receive a supplemental production on December 17,
    2021. When will you be producing those? If you do not plan to produce
    any more documents, please confirm.
    No 10: This is not overly broad. Plaintiff needs to verify that all
    appropriate policies, procedures, and manuals are produced, and the table
    of contents is the most efficient way to do so. Please produce.
    No. 11: This is not overly broad. Defendant’s patterns and practices are at
    issue and 10 years is a reasonable time frame. Please produce.
    No. 12: This is not overly broad. Plaintiff is entitled to know the insurance
    coverage for the claims in this case. Please produce.
    No. 13: This is not overly broad and no supplemental production has been
    produced. Plaintiff is entitled to discover the training and investigative
    procedures. Please produce.
    No. 14: This is not overly broad. Please produce the full scope of
    documents requested.
    No. 16: This is sufficiently precise. Let’s discuss any confusion you have
    over the request. Please remove the objection. Plaintiff cannot tell if
    Defendant is hiding documents behind the objection or not.
    No. 17-19: We did not receive a supplemental production on December
    17, 2021. When will you be producing those? If you do not plan to
    produce any more documents, please confirm.
    No. 20: I apologize for the typo. The request should read “…reviewed by
    or prepared by for each consulting…” Please remove your vague and
    ambiguous objection with that correction.


                                                                         Pl Appx-019
     No. 22: An “equally available” is not an appropriate objection. If the
     documents are in your possession, you have an obligation to produce.
     Please remove the objection. Plaintiff does not know if Defendant is hiding
     documents because of that objection.
     No. 23-26: This is not overly broad. If the defendant objects to the scope,
     it must propose a scope that it thinks is appropriate. Defendant has not
     done so. Defendant has not given any proposed search terms. Please
     produce the full scope requested or provide a new scope.
     No. 28-29: These are not vague or ambiguous. Let’s discuss any confusion
     you may have over these requests. They are sufficiently precise.
     No. 30: We did not receive a supplemental production on December 17,
     2021. When will you be producing those? If you do not plan to produce
     any more documents, please confirm.
     No. 31: I apologize for the typo. The request should read, “…complaints of
     race discrimination against Defendant…” With that correction, please
     produce responsive documents.
     No. 32: “Complaints” is not overly broad, vague, or ambiguous. This is a
     common word used in companies for employment investigations and
     employee reports about discrimination occurrences in the workplace.
     Furthermore, the word “complaints” is used in other requests and the
     Defendant did not object to the word. Please remove your objection and
     produce.
     No. 33-34: This is not overly broad. The request is limited to an
     appropriate temporal scope and is incredibly relevant to the case because
     Defendant’s pattern and practice around discrimination complaints,
     occurrences, and lawsuits in the workplace is at issue. Please produce.
     No. 37-38: FedEx does not have any organizational charts that include Ms.
     Harris or Ms. Lamb? What organizational charts does FedEx have?
     No. 39-40: We did not receive a supplemental production on December
     17, 2021. When will you be producing those? If you do not plan to
     produce any more documents, please confirm.

I also want to follow up on the depositions that we requested back in
September 2021. Do you have any potential dates for them, yet? Here is the
list of the witnesses, again, and the order we would like to take them in for
your reference:
    1. Corporate Representative(s)
    2. Michelle Lamb
    3. Jim Wallace
    4. Dave Russell
    5. Dan Mullally
    6. Kristie Castilow
    7. Michael Clark

I hope you all had a nice holiday season.

Thanks,


                                                                        Pl Appx-020
BB

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113




                                                                Pl Appx-021
From:            Elizabeth Sanford
To:              Barak Babcock; Christopher Seter
Cc:              Brian Sanford
Subject:         Harris v. FedEx
Date:            Monday, May 23, 2022 11:16:59 AM


Barak and Chris,

These are the documents that we are still missing from your document
production:

       Personnel files of Comparators, including coaching, awards, and discipline
       Sales records in Long Horn Region under Lamb
       Records for all four quarters for sales to show impact of BJ and 4G as
       compared with others
       Alignment rules
       Documents and policies that Sales Compensation looked at for the
       alignment exception for BJ Services
       Race of all DSM’s at FedEx during last three years of Harris employment
       Attainment percentage of all DSM’s at FedEx during last three years of
       Harris employment
       CBT’s of all DSM’s at FedEx during last three years of Harris employment
       Calls on Opportunities all DSM’s at FedEx during last three years of Harris
       employment
       Pricing Activity of all DSM’s at FedEx during last three years of Harris
       employment
       Collaborate to Close of all DSM’s at FedEx during last three years of
       Harris employment
       Richard Holley — EEO complaint and investigation
       Harris’s ranking with all DSM’s at FedEx during last three years of Harris
       employment
       Decliners for all DSM’s at FedEx during last three years of Harris
       employment

Thanks,
BB

Elizabeth “BB” Sanford
Attorney | 1910 Pacific Ave. | Suite 15400 | Dallas, TX 75201
Direct: 469-361-9122 | Fax: 214-919-0113 | Cell: 469-231-7233




                                                                          Pl Appx-022
Exhibit 2
   FXS 19
Pl Appx-023
  FXS 20
Pl Appx-024
  FXS 21
Pl Appx-025
Exhibit 3
                                     Michelle Lamb - 4/27/2022
                                                          1                                                                3
1              IN THE UNITED STATES DISTRICT COURT               1                        I N D E X
                FOR THE SOUTHERN DISTRICT OF TEXAS               2                                                     PAGE
2                        HOUSTON DIVISION                        3 Appearances ........................................   4
3    JENNIFER HARRIS,            *                               4
                                 *                               5
4            Plaintiff,          *                                 MICHELLE LAMB
                                 *    CIVIL ACTION               6
5    vs.                         *    4:21-cv-1651
                                                                        Examination by Ms. Sanford ....................   5
                                 *
                                                                 7
6    FEDEX CORPORATE SERVICES,   *
                                                                 8
     INC.,                       *
                                                                   Errata ......................................... 96 - 97
7                                *
             Defendant.          *                               9
 8                                                                 Reporter's Certification ....................... 98 - 99
 9                                                              10
10             **********************************               11
11             ORAL AND VIDEOTAPED DEPOSITION OF                12
                         MICHELLE LAMB                                                     EXHIBITS
12                       APRIL 27, 2022                         13
                      (Conducted Remotely)                         EXHIBIT NO.           DESCRIPTION                  PAGE
13                                                              14
               **********************************                                      (None offered.)
14                                                              15
15                                                              16
16             ORAL AND VIDEOTAPED DEPOSITION OF MICHELLE       17
17   LAMB, produced as a witness at the instance of the         18
18   Plaintiff, and duly sworn, was taken in the above-styled
                                                                19
19   and -numbered cause on the 27th day of April, 2022, from
                                                                20
20   8:29 a.m. to 11:13 a.m., before Leah K. Osteen Dow, CSR
                                                                21
21   in and for the State of Texas, reported remotely by
                                                                22
22   machine shorthand, with the witness being located in
23   Houston, Texas, taken pursuant to the Federal Rules of     23
24   Civil Procedure and any provisions, stipulations, or       24
25   agreements stated on the record by counsel.                25



                                                          2                                                                4
 1                       A P P E A R A N C E S                   1                PROCEEDINGS
                          (Appearing remotely)
                                                                 2             THE REPORTER: Going on the record at 8:29
 2
 3                                                               3   a.m., April 27, 2022, for the deposition of Michelle
 4 FOR THE PLAINTIFF:                                            4   Lamb, being conducted remotely in the matter of Jennifer
 5      Ms. Elizabeth "BB" Sanford (videographer)
        THE SANFORD FIRM                                         5   Harris vs. FedEx Corporate Services, Inc.
 6      1910 Pacific Avenue                                      6             My name is Leah Osteen, Texas CSR 3916,
        Suite 15400                                              7   reporting remotely from Hurst, Texas. The witness is
 7      Dallas, Texas 75201
        (214) 717-6653                                           8   located in Houston, Texas.
 8      esanford@sanfordfirm.com                                 9             Would counsel state their appearances and
 9                                                              10
10
                                                                     any agreements for the record.
11 FOR THE DEFENDANT:                                           11             MS. SANFORD: BB Sanford for the
12      Mr. Barak J. Babcock                                    12   Plaintiff, Jennifer Harris. And Brian Sanford may be
        FEDERAL EXPRESS CORPORATION
13      3620 Hacks Cross Road                                   13   joining later, too, but he's not here now.
        Building B, 3rd Floor                                   14             MR. BABCOCK: Good morning. Barak Babcock
14      Memphis, Tennessee 38125                                15   for FedEx.
        (301) 739-0512
15      barak.babcock@fedex.com                                 16             And, Counsel, we've had email traffic, but
16                                                              17   just to reiterate what we wrote in our March 6, 2022,
17                                                              18   email, we believe that Zoom deposition recordings
18
   ALSO PRESENT:                                                19   recorded in the Zoom app are objectionable to be
19                                                              20   submitted to the Court or a jury. So we'll just put
        Ms. Jennifer Harris
20
                                                                21   that objection on the record.
21                                                              22             THE REPORTER: Ms. Lamb, if you'll raise
22                                                              23   your right hand, I'll swear you in.
23
24                                                              24             (Witness placed under oath.)
25                                                              25                  MICHELLE LAMB,


                                                                                            1 (Pages 1 to 4)
                        Osteen & Associates Reporting Services
                                     817-498-9990
                                                                                                        Pl Appx-026
                                    Michelle Lamb - 4/27/2022
                                                         29                                                              31
 1   Ms. Harris brought about you?                              1      Q. Okay. So which attributes are you speaking
 2      A. My understanding is Ms. Harris felt that she         2   about that Ms. Harris needed improvement on?
 3   was treated unfairly.                                      3             MR. BABCOCK: Object to the form.
 4      Q. Were you told any specifics of why she thought       4      A. Number one, performance, attainment.
 5   she was being treated unfairly?                            5      Q. So that's sales goals? She wasn't meeting her
 6      A. She felt that I wasn't treating her the same as      6   sales goals?
 7   her peers. That pretty much summarizes what I was told.    7      A. That's correct.
 8      Q. Were you told it was because of her race that        8      Q. And meeting your sales goals is pretty
 9   she felt she was being treated unfairly?                   9   important to FedEx for people in the sales department,
10      A. Initially I don't recall seeing race as a           10   true?
11   factor. Just unfair treatment.                            11             MR. BABCOCK: Object to the form.
12      Q. Were you told it was a discrimination               12      A. True.
13   complaint?                                                13      Q. Was she having any issues with call activity?
14      A. I don't recall that word being used.                14             MR. BABCOCK: Object to the form.
15      Q. Do you recall retaliation complaint?                15      A. I do not recall call numbers being an issue. I
16      A. Yes.                                                16   would further say probably call quality, but call
17      Q. And what was your understanding of a                17   numbers were not an issue.
18   retaliation complaint?                                    18      Q. So are you -- were you addressing your concerns
19      A. Jennifer had made some allegations against me       19   with her call quality?
20   and shortly thereafter was issued some performance        20      A. Yes, yes.
21   feedback, disciplinary action. And she felt that that     21      Q. And what were those concerns? What did you
22   was done in retaliation for her complaint.                22   tell her?
23      Q. So the timeline is Jennifer Harris makes a          23      A. Quality sales calls typically will result in
24   complaint about you; she's written up or gets a           24   pricing activity, opportunities uncovered, and the other
25   disciplinary action, and then -- immediately after; and   25   activities that I mentioned that lead to performance.

                                                         30                                                              32
 1   so then she complains about retaliation. True?             1      Q. Sorry. Could you explain that to me?
 2             MR. BABCOCK: Object to the form.                 2      A. Yes. A productive, well-planned sales call
 3      A. That's my understanding.                             3   will lead to the uncovering of opportunities, the need
 4      Q. Prior to her making a complaint about you, had       4   to input pricing into our system, and ultimately will
 5   she received any disciplinary action from you?             5   lead to closed business.
 6             MR. BABCOCK: Object to form.                     6      Q. And so what was Ms. Harris not doing?
 7      A. Not official disciplinary action; however, we        7             MR. BABCOCK: Object --
 8   had had multiple conversations on performance concerns.    8      A. Closing business.
 9      Q. Just oral conversations?                             9      Q. Did Ms. Harris have problems with pricing
10      A. That's correct. I retract. There were email         10   activity?
11   conversations as well.                                    11             MR. BABCOCK: Object to the form.
12      Q. But no documented discipline prior to               12      A. Yes.
13   Ms. Harris complaining about you of unfair treatment,     13      Q. What were those problems?
14   true?                                                     14      A. There was not adequate call activity generated
15      A. Correct.                                            15   by her team to impact her performance.
16      Q. What were some of these -- or could you             16      Q. So that sounds the same thing as the call
17   describe to me or to the jury, prior to documented        17   activity.
18   discipline, these oral and sometimes email discussions    18             How is call activity different from
19   you were having about Ms. Harris's performance?           19   pricing activity?
20             MR. BABCOCK: Object to the form.                20      A. They're quite closely related from a standpoint
21      A. Generally speaking, our written and verbal          21   of if you execute a great call, you're going to find an
22   coaching conversations centered around performance        22   opportunity, and that opportunity will result in a need
23   metrics, and they also centered around some of the        23   to input pricing for a customer.
24   activities that I previously referenced as being          24      Q. So if Ms. Harris is not -- or an employee is
25   critical indicators of long-term success.                 25   not doing good at call activity, they're also by default


                                                                                      8 (Pages 29 to 32)
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                                     Michelle Lamb - 4/27/2022
                                                         97                                                             99
1                   ACKNOWLEDGMENT OF DEPONENT                   1             ____ was not requested by the deponent or a
2        I,______________________, do hereby certify that I      2   party before the completion of the deposition.
                                                                 3             I further certify that I am neither counsel
3 have read the foregoing pages, and that the same is a
                                                                 4   for, related to, nor employed by any of the parties or
4 correct transcription of the answers given by me to the
                                                                 5   attorneys to the action in which this proceeding was
5 questions therein propounded, except for the corrections       6   taken. Further, I am not a relative or employee of any
6 or changes in form or substance, if any, noted on the          7   attorney of record in this cause, nor am I financially
7 attached Errata.                                               8   or otherwise interested in the outcome of the action.
                                                                 9             Subscribed and sworn to on this the 19th day
8
                                                                10   of May, 2022.
9             ____________________________________________      11
10            MICHELLE LAMB                      DATE           12
11                                                              13
                                                                14
12
                                                                                      _____________________________________
13
                                                                15                    LEAH K. OSTEEN DOW, Texas CSR #3916
14                                                                                    Certification expires: 4/30/2023
15                                                              16                    Firm Registration No. 392
16                                                                                    Osteen & Associates Reporting Services
                                                                17                    313 Northglen Dr.
17
                                                                                      Hurst, Texas 76054-3024
18
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19                                                                                    osteenreporting@gmail.com
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24                                                              24
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                                                         98
1              IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
2                        HOUSTON DIVISION
3    JENNIFER HARRIS,            *
                                 *
4            Plaintiff,          *
                                 *    CIVIL ACTION
5    vs.                         *    4:21-cv-1651
                                 *
6    FEDEX CORPORATE SERVICES,   *
     INC.,                       *
7                                *
             Defendant.          *
8
              *******************************************
9                    REPORTER'S CERTIFICATION
                ORAL AND VIDEOTAPED DEPOSITION OF
10                        MICHELLE LAMB
                          APRIL 27, 2022
11            *******************************************
12             I, LEAH K. OSTEEN DOW, Certified Shorthand
13   Reporter in and for the State of Texas, hereby certify
14   to the following:
15             That the witness, MICHELLE LAMB, was duly
16   sworn by me and that the transcript of the oral
17   deposition is a true record of the testimony given by
18   the witness;
19             I further certify that pursuant to FRCP Rule
20   30(f)(1) that the signature of the deponent:
21             _XX__ was requested by the deponent or a party
22   before the completion of the deposition and is to be
23   returned within 30 days from date of receipt of the
24   transcript. If returned, the attached Errata contain
25   any changes and the reasons therefor;



                                                                                      25 (Pages 97 to 99)
                        Osteen & Associates Reporting Services
                                     817-498-9990
                                                                                                        Pl Appx-028
